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 UNITED STATES DISTRICT COURT FOR THE
 DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                        Case No. 22 CR 124 (NED/TNL)
                 - against -

 ABDIAZIZ SHAFII FARAH, et al.
 (ABDIMAJID MOHAMED NUR),

                           Defendant.



         DEFENDANT ABDIMAJID MOHAMED NUR'S PROPOSED EXHIBIT LIST
          In accordance with the Court's Final Pretrial Order (ECF No. 344), Defendant

    Abdimajid Mohamed Nur submits the following exhibit list:

D4                              Date
           Bates No(s).               Admitted                     Description of Exhibit
No.                            Marked

                                                  Forwarded email regarding the final draft of the Al
1             1.001
                                                  Ihsan Roster (Dated 12.18.21)

                                                  Email to Dini Omar with attendance sheet
2             2.001
                                                  attachment (Dated 09.13.21)

                                                  Email to Dini Omar with attendance sheet
3             3.001
                                                  attachment (Dated 09.13.21)


                                                  Child and Adult Care Food Program (CACFP) and
4             4.001
                                                  the USDA waiver


5         5.001 - 5.103                           Attendance Roster (Handwritten)

6         6.001 - 6.083                           Meal Delivery Slips (Handwritten)

7         7.001 - 7.051                           Recipient list

8         8.001 - 8.041                           Meal Delivery Slips (Handwritten)

9         9.001 - 9.176                           Child / Parent Recipient Information




                                                 -1-
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10     10.001 - 10.104                 Recipient List (Handwritten)

                                       Screenshot of message exchange with "Abdullahi"
11         11.001
                                       (Dated 10.23.21)



12         12.001                      Email from "abdiaziz farah" (Dated 10.01.21)



13     13.001 - 13.005                 Summary of USDA Waivers


14         14.001                      Email re: "Park Row Site" (Dated 12.03.21)


                                       Screenshots of message threads with various third-
15     15.001 - 15.007
                                       parties.


                                       Email re: "Rosters" with multiple parties (Dated
16     16.001 - 16.002
                                       10.25.21)




 Dated: New York, NY
        March 29, 2024
                                    Respectfully submitted,

                                    SAPONE & PETRILLO, LLP


                                    Edward V. Sapone (ES-2553) (Pro Hac Vice)
                                    Sapone & Petrillo, LLP
                                    40 Fulton Street, 17th Floor
                                    New York, NY 10038
                                    O: (212) 349-9000
                                    E: ed@saponepetrillo.com




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